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14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17   SONOS, INC.,                                  Case No. 3:20-cv-06754-WHA
18               Plaintiff and Counterdefendant,   Consolidated with
                                                   Case No. 3:21-cv-07559-WHA
19   v.
                                                   DECLARATION OF JOSEPH R.
20   GOOGLE LLC,                                   KOLKER IN SUPPORT OF SONOS’S
                                                   BRIEF RE CAST TECHNOLOGY
21               Defendant and Counterclaimant.
                                                   Judge: Hon. William Alsup
22                                                 Courtroom: 12, 19th Floor
                                                   Trial Date: May 8, 2023
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                                                               DECL. OF J. KOLKER ISO SONOS, INC.’S
                                                           SONOS’S BRIEF RE CAST TECHNOLOGY
                                                                     CASE NO. 3:20-CV-06754-WHA
     Case 3:20-cv-06754-WHA Document 700-1 Filed 05/10/23 Page 2 of 2



 1            I, Joseph R. Kolker, declare as follows and would so testify under oath if called upon to

 2   do so:

 3            1.     I am an attorney with the law firm of Orrick, Herrington & Sutcliffe LLP, counsel

 4   of record to Sonos, Inc. (“Sonos”) in the above-captioned matter. I am a member in good

 5   standing of the New York State Bar and am admitted to practice before this Court in this matter

 6   pro hac vice. I make this declaration based on my personal knowledge, unless otherwise noted.

 7   If called, I can and will testify competently to the matters set forth herein.

 8            2.     I make this declaration in support of Sonos’s Supplemental Brief Regarding

 9   “Casting.”
10            3.     Attached hereto as Exhibit A is a true and correct copy of the designated excerpts

11   from the November 22, 2022 deposition of Tomer Shekel that were played in video form for the

12   jury on May 10, 2023.

13            4.     Attached hereto as Exhibit B is a true and correct copy of Trial Exhibit 0125.

14            I declare under penalty of perjury that the foregoing is true and correct to the best of my

15   knowledge. Executed this 10th day of May, 2023 in San Francisco, California.

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                                                                         DECL. OF J. KOLKER ISO SONOS, INC.’S
                                                     1               SONOS’S BRIEF RE CAST TECHNOLOGY
                                                                                CASE NO. 3:20-CV-06754-WHA
